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; Senior Associate General Counsel
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December 11, 2007

VIA FACSIMILE (949-716-0606) & U.S. MAIL
Ms. Kari M. Myron

Law Office of Kari M. Myron

22972 Mill Creek Drive

Laguna Hills, CA 92653

Re: Steven Benhayon
Dear Ms. Myron:

This correspondence is sent in response to your letter of November 12, 2007, to
Ms. Gabriela Sikich, requesting a review of Mr. Benhayon’s WAP account by the WAP
committee.

On December 7, 2007, the RBC U.S. Wealth Accumulation Plan committee met
and reviewed Mr. Benhayon’s request for accelerated vesting of the unvested portion of
the employer contributions to his WAP account that had been forfeited, pursuant to
Section 4.4 of the Plan, at the time of his termination. After completing its review, the
Committee chose not to approve Mr. Benhayon’s request.

Pursuant to Section 7.4 of the Plan, you are entitled to request a review of the
foregoing denial. If you desire such a review, please comply with the provisions of
Section 7.4 and direct your written request to my attention.

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Mey be
T rd Schnell

Ce: Ms. Gabriela Sikich

Member NYSE » SIPC EXHIBIT: D DAGE 12.

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